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               Exhibit 
                                                                                   Case 1:21-cv-03354-BAH Document 87-3 Filed 08/04/23 Page 2 of 6
Log Entry
                      BegDoc                            File Name                        Date                      From                                          To                                           CC                                 Email Subject or File Name           File Type           Nature/Basis of Privilege Claim
 Number
            BK0000000325                Fwd Affidavits and Declarations.pdf        11/15/2020   Maria Ryan                                  Sidney Powell (sidney@federalappeals.com);    N/A                                          Fwd Affidavits and Declarations.pdf          Email         WP and ACP: Communications between co-
   13                                                                                           (Maria.ryan@giulianipartners.com)           Bernie Kerik (private@bernardkerik.com)                                                                                                               counsel preparing for litigation in various states.

            BK0000000252                Fwd Their battle plan.pdf                  12/3/2020    Maria Ryan                                  Bernie Kerik (private@bernardkerik.com)       N/A                                          Fwd Their battle plan.pdf                    Email         WP: Confidential communication gathering legal
   87                                                                                           (Maria.ryan@giulianipartners.com)                                                                                                                                                                 data for national litigation strategy.

            BK0000000350                Fwd Their battle plan.pdf                  12/3/2020    Maria Ryan                                  Bernie Kerik (private@bernardkerik.com)       N/A                                          Fwd Their battle plan.pdf                    Email         WP: Confidential communication from counsel's
   88                                                                                           (Maria.ryan@giulianipartners.com)                                                                                                                                                                 staff discussing legal data for use in national
                                                                                                                                                                                                                                                                                                  litigation strategy.
            BK0000000229                URGENT.pdf                                 12/7/2020    zulutym@gmail.com                           Bernie Kerik (private@bernardkerik.com)       N/A                                          URGENT.pdf                                   Email         WP: Confidential communications from
   95                                                                                                                                                                                                                                                                                             campaign representative discussing data for all
                                                                                                                                                                                                                                                                                                  post election Michigan litigation.
            BK0000000394                URGENT.pdf                                 12/7/2020    zulutym@gmail.com                           Bernie Kerik (private@bernardkerik.com)       N/A                                          URGENT.pdf                                   Email         WP: Confidential communications between
   98                                                                                                                                                                                                                                                                                             litigation team gathering data for counsel.

            BK0000000354                Fwd WEAPONIZED AUTISM 4Chan Finds          12/10/2020   kef@hushmail.com                            Bernie Kerik (private@bernardkerik.com); Phil N/A                                          Fwd WEAPONIZED AUTISM 4Chan Finds Huge       Email         WP: Confidential communication from counsel
  107                                   Huge Ukraine Links To Dominion                                                                      Waldron (p@bonfiresearch.org)                                                              Ukraine Links To Dominion Software.pdf                     requesting data for developing litigation plans
                                        Software.pdf                                                                                                                                                                                                                                              nationally.
            BK0000000219                Re Discussions w Jim Penrose on EAC .pdf   12/11/2020   kef@hushmail.com                            Rudy Giuliani (rhelen0528@gmail.com)          Bernie Kerik (private@bernardkerik.com)      Re Discussions w Jim Penrose on EAC .pdf     Email         ACP: Confidential communication from counsel
  109                                                                                                                                                                                                                                                                                             discussing tips from the public for use in
                                                                                                                                                                                                                                                                                                  national litigation strategy.
            Pages from BK0000000117-2   Pages from BK0000000117-2.pdf              12/11/2020   Kenneth Chesebrokenchesebro@msn.com         Joshua Findlayjfindlay@donaldtrump.com        Jon Blackjblack@gop.com,                     Re: 7 documents for GA electors              Email         WP: Email from counsel discussing work
  110                                                                                                                                                                                     MRoman@donaldtrump.com,                                                                                 product for Georgia litigation.
                                                                                                                                                                                          private@bernardkerik.com
            Pages from BK0000000117-3   Pages from BK0000000117-3.pdf              12/11/2020   BernardKerikprivate@bernardkerik.com        Boris Epshteyn Bepshteyn@gmail.com,                                                        Fwd: [EXTERNAL]7 documents for GA electors   Email         WP: Email from counsel discussing work
                                                                                                                                            Christina Bobb                                                                                                                                        product for Georgia litigation.
                                                                                                                                            ChristinaBobb@ProtonMail.com, Katherine
  111                                                                                                                                       Friesskef@hushmail.com, Rudy Giuliani
                                                                                                                                            Rhelen0528@gmail.com, Maria Ryan
                                                                                                                                            Maria.ryan@giulianipartners.com

            Pages from BK0000000117-4   Pages from BK0000000117-4.pdf              12/11/2020   (Mike Roman) mroman@donaldtrump.com         (Kenneth Chesebro) kenchesebro@msn.com, (Jon Black) jblack@gop.com, (Bernie Kerik)         Re: [EXTERNAL]7 documents for GA electors    Email         WP: Email to campaign counsel discussing work
  112                                                                                                                                       (Joshua Findlay) jfindlay@donaldtrump.com private@bernardkerik.com                                                                                    product for Georgia litigation.

            Pages from BK0000000117-5   Pages from BK0000000117-5.pdf              12/11/2020   (Mike Roman) mroman@donaldtrump.com         Kenneth Chesebro                              (Jon Black) jblack@gop.com,                  Re: [EXTERNAL]7 documents for GA electors    email         WP: Email to campaign counsel discussing work
  113                                                                                                                                       kenchesebro@msn.com,Joshua Findlay            private@bernardkerik.com, (Robert Sinners)                                                              product for Georgia litigation.
                                                                                                                                            jfindlay@donaldtrump.com                      rsinners@donaldtrump.com
            Pages from BK0000000117-6   Pages from BK0000000117-6.pdf              12/11/2020   Kenneth Chesebro kenchesebro@msn.com        Joshua Findlay jfindlay@donaldtrump.com       Jon Black jblack@gop.com,                    7 documents for GA electors                  email         WP: Email from campaign counsel discussing
  114                                                                                                                                                                                     MRoman@donaldtrump.com,                                                                                 work product for Georgia litigation.
                                                                                                                                                                                          private@bernardkerik.com
            BK0000000144                7 documents for GA electors.pdf            12/12/2020   kef@hushmail.com                            Bernie Kerik (private@bernardkerik.com)       N/A                                          7 documents for GA electors.pdf              Email         WP: Confidential communication proving
  115                                                                                                                                                                                                                                                                                             information for legal strategy in post election
                                                                                                                                                                                                                                                                                                  litigation in Georgia.
            BK0000000289                7 documents for GA electors.pdf            12/12/2020   kef@hushmail.com                            Bernie Kerik (private@bernardkerik.com)       N/A                                          7 documents for GA electors.pdf              Email         WP: Confidential communication discussing
  117                                                                                                                                                                                                                                                                                             requesting data for potential litigation in GA.

            Pages from BK0000000117     Pages from BK0000000117.pdf                12/12/2020   kef@hushmail.com                            BernardKerikprivate@bernardkerik.com                                                       Re: [EXTERNAL]7 documents for GA electors    Email         WP: Email from counsel discussing work
  119
                                                                                                                                                                                                                                                                                                  product for Georgia litigation.
            BK0000000314                FINAL PRESS RELEASE PACKAGE READY TO 12/14/2020         Bryan Eure                                  Bernie Kerik (private@bernardkerik.com)       N/A                                          FINAL PRESS RELEASE PACKAGE READY TO GO      Email         ACP: Confidential communications asking for
  122                                   GO OUT.pdf                                              (Bryan.Eure@willistowerswatson.com)                                                                                                    OUT.pdf                                                    legal advice regarding national litigation
                                                                                                                                                                                                                                                                                                  strategy.
            BK0000000189                Fwd TIME PRESSING QUESTION.pdf             12/16/2020   Katherine Freiss (kfriess@protonmail.com)   Bernie Kerik (private@bernardkerik.com);      N/A                                          Fwd TIME PRESSING QUESTION.pdf               Email         WP: Confidential communication from
                                                                                                                                            Maria Ryan                                                                                                                                            campaign counsel requesting work product for
  127
                                                                                                                                            (Maria.Ryan@giulianipartners.com)                                                                                                                     use in national post election litigation.

            BK0000000190                Fwd Urgent Please attach the email below 12/16/2020     kef@hushmail.com                            Maria Ryan (maria.ryangiulianipartners.com)   "Jenna Ellis jellis@donaldtrump.com, Bernie Fwd Urgent Please attach the email below with Email         WP: Confidential communication from
                                        with my files.pdf                                                                                                                                 Kerik private@bernardkerik.com, Christina   my files.pdf                                                campaign counsel providing information for
  128                                                                                                                                                                                     Bobb (christina@cgbstrategies.com), Rudolph                                                             national litigation strategy.
                                                                                                                                                                                          Giuliani (rhelen0528@gmail.com)"

            BK0000000228                Update Senators coalition.pdf              12/16/2020   joannamiller6201@protonmail.com             Katherine Freiss (kfriess@protonmail.com);    N/A                                          Update Senators coalition.pdf                Email         ACP: Confidential communication providing
                                                                                                                                            Bernie Kerik (private@bernardkerik.com)                                                                                                               information to render legal advice regarding
  129
                                                                                                                                                                                                                                                                                                  national litigation strategy with a white house
                                                                                                                                                                                                                                                                                                  aide.
            BK0000000254                Fwd TIME PRESSING QUESTION.pdf             12/16/2020   Katherine Freiss (kfriess@protonmail.com)   Bernie Kerik (private@bernardkerik.com);      N/A                                          Fwd TIME PRESSING QUESTION.pdf               Email         WP: Confidential communication from counsel
  130                                                                                                                                       Maria Ryan                                                                                                                                            gathering legal data for national litigation
                                                                                                                                            (Maria.Ryan@giulianipartners.com)                                                                                                                     strategy.
            BK0000000255                Fwd Urgent Please attach the email below 12/16/2020     kef@hushmail.com                            Maria Ryan (maria.ryangiulianipartners.com)   "Jenna Ellis jellis@donaldtrump.com, Bernie Fwd Urgent Please attach the email below with Email         ACP: Confidential communication between
                                        with my files.pdf                                                                                                                                 Kerik private@bernardkerik.com, Christina   my files.pdf                                                counsel discussing legal data for national
  131                                                                                                                                                                                     Bobb (christina@cgbstrategies.com), Rudolph                                                             litigation strategy.
                                                                                                                                                                                          Giuliani (rhelen0528@gmail.com)"

            BK0000000351                Fwd TIME PRESSING QUESTION.pdf             12/16/2020   Katherine Freiss (kfriess@protonmail.com)   Bernie Kerik (private@bernardkerik.com);      N/A                                          Fwd TIME PRESSING QUESTION.pdf               Email         ACP: Confidential communication from counsel
  133                                                                                                                                       Maria Ryan                                                                                                                                            discussing national litigation strategy plan.
                                                                                                                                            (Maria.Ryan@giulianipartners.com)
            BK0000000393                Update Senators coalition.pdf              12/16/2020   joannamiller6201@protonmail.com             Katherine Freiss (kfriess@protonmail.com);    N/A                                          Update Senators coalition.pdf                Email         WP: Confidential communication between
  135                                                                                                                                       Bernie Kerik (private@bernardkerik.com)                                                                                                               white house staff and counsel re data for
                                                                                                                                                                                                                                                                                                  national litigaiton plan.




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                                                                                     Case 1:21-cv-03354-BAH Document 87-3 Filed 08/04/23 Page 3 of 6
Log Entry
                      BegDoc                              File Name                        Date                      From                                          To                                           CC                                Email Subject or File Name               File Type            Nature/Basis of Privilege Claim
 Number
            BK0000000159                 Clearances Request forMike Meadows.pdf 12/17/2020        Katherine Freiss (kfriess@protonmail.com)   Rudy Giuliani (rhelen0528@gmail.com)         Bernie Kerik (private@bernardkerik.com)      Clearances Request forMike Meadows.pdf           Email         WP: Confidential communication requesting
  136                                                                                                                                                                                                                                                                                                  work product to be used in national post
                                                                                                                                                                                                                                                                                                       election litigation.
            BK0000000180                 Fwd Findings with Redlines.pdf              12/17/2020   Katherine Freiss (kfriess@protonmail.com)   Rudyrhelen0528@gmail.com,Bernie Kerik        N/A                                          Fwd Findings with Redlines.pdf                   Email         WP: Confidential communication providing edits
  137                                                                                                                                         private@bernardkerik.com                                                                                                                                 to legal filings for national litigation.

            BK0000000304                 Clearances Request forMike Meadows.pdf 12/17/2020        Katherine Freiss (kfriess@protonmail.com)   Rudy Giuliani (rhelen0528@gmail.com)         Bernie Kerik (private@bernardkerik.com)      Clearances Request forMike Meadows.pdf           Email         WP: Confidential communication from counsel
  138                                                                                                                                                                                                                                                                                                  requesting work product to be used to develop
                                                                                                                                                                                                                                                                                                       a national litigation plan.
            BK0000000334                 Fwd Findings with Redlines.pdf              12/17/2020   Katherine Freiss (kfriess@protonmail.com)   Rudyrhelen0528@gmail.com,Bernie Kerik        N/A                                          Fwd Findings with Redlines.pdf                   Email         WP: Confidential communication from counsel
  139                                                                                                                                         private@bernardkerik.com                                                                                                                                 discussing collected data for use in a national
                                                                                                                                                                                                                                                                                                       litigation plan.
            BK0000000371                 Navarro POTUS Fraud report out.pdf          12/17/2020   Katherine Freiss (kfriess@protonmail.com)   Joanna Miller                                Bernie Kerik (private@bernardkerik.com);     Navarro POTUS Fraud report out.pdf               Email         ACP: Confidential communication with white
  140                                                                                                                                         (joannamiller6201@protonmail.com)            Matt DePerno (mdeperno@protonmail.com)                                                                      house staff discussing legal strategy re national
                                                                                                                                                                                                                                                                                                       litigation plan.
            BK0000000390                 Supporting info re Foreign Involvement.pdf 12/17/2020    Katherine Freiss (kfriess@protonmail.com)   Bernie Kerik (private@bernardkerik.com);     N/A                                          Supporting info re Foreign Involvement.pdf       Email         WP: Confidential communication from counsel
  141                                                                                                                                         Rudy (rhelen0528@gmail.com)                                                                                                                              to co counsel providing information for national
                                                                                                                                                                                                                                                                                                       legal plan.
            BK0000000155                 briefing packet docs to print for the 2pm   12/21/2020   Katherine Freiss (kfriess@protonmail.com)   rhelen0528@gmail.com                         Bernie                                     briefing packet docs to print for the 2pm          Email         ACP: Confidential communication between 2
                                         meeting.pdf                                                                                                                                       Kerikprivate@bernardkerik.com,pp@bonfires meeting.pdf                                                       attorney's discussing legal strategy for post
  143
                                                                                                                                                                                           earch.org,Katherine Friesskef@hushmail.com                                                                  election litigation in various states.

            BK0000000165                 FACT CHECK John Poulos.pdf                  12/21/2020   joannamiller6201@protonmail.com             Katherine Freiss (kfriess@protonmail.com)    Bernie Kerik (private@bernardkerik.com)      FACT CHECK John Poulos.pdf                       Email         WP: Confidential communication providing legal
  144                                                                                                                                                                                                                                                                                                  data for use in national post election litgation.

            BK0000000300                 briefing packet docs to print for the 2pm   12/21/2020   Katherine Freiss (kfriess@protonmail.com)   rhelen0528@gmail.com                         Bernie                                     briefing packet docs to print for the 2pm          Email         WP: Confidential communication from counsel
                                         meeting.pdf                                                                                                                                       Kerikprivate@bernardkerik.com,pp@bonfires meeting.pdf                                                       discussing data on vote counting for use in
  145
                                                                                                                                                                                           earch.org,Katherine Friesskef@hushmail.com                                                                  national litigation strategy.

            BK0000000310                 FACT CHECK John Poulos.pdf                  12/21/2020   joannamiller6201@protonmail.com             Katherine Freiss (kfriess@protonmail.com)    Bernie Kerik (private@bernardkerik.com)      FACT CHECK John Poulos.pdf                       Email         WP: Confidential communication from white
  146                                                                                                                                                                                                                                                                                                  house aide to counsel discussing data for use in
                                                                                                                                                                                                                                                                                                       national litigation strategy.
            Pages from BK0000000117-25   Pages from BK0000000117-25.pdf              12/21/2020   Katherine Friess kfriess@protonmail.com     Rudy rhelen0528@gmail.com                    Bernie Kerik private@bernardkerik.com, p     briefing packet docs to print for the 2pm        email         WP: email between counsel discussing election
  147                                                                                                                                                                                      p@bonfiresearch.org, Katherine Friess        meeting                                                        data in Arizona for use in potential AZ litigation.
                                                                                                                                                                                           kef@hushmail.com
            BK0000000160                 Comms Plan to Print for mtg with POTUS in 12/27/2020     Katherine Freiss (kfriess@protonmail.com)   Rudy Giulliani (rhelen0528@gmail.com); Dr.   Bernie Kerik (private@bernardkerik.com)      Comms Plan to Print for mtg with POTUS in the Email            WP: Confidential communication discussing
  151                                    the am.pdf                                                                                           Maria Ryan                                                                                am.pdf                                                         data for potential post election litigation in
                                                                                                                                              (maria.ryan@giulianipartners.com)                                                                                                                        Georgia.
            BK0000000239                 Fwd Concrete information needed.pdf         12/27/2020   Maria Ryan                                  Rudy Giuliani (rhelen0528@gmail.com);        N/A                                          Fwd Concrete information needed.pdf              Email         ACP: Confidential communication providing
                                                                                                  (maria.ryan@giulianipartners.com)           Katherine Friess (kfriess@protonmail.com);                                                                                                               information to counsel render legal advice re
  153
                                                                                                                                              Bernie Kerik (private@bernardkerik.com)                                                                                                                  national litigation strategy post election.

            BK0000000330                 Fwd Concrete information needed.pdf         12/27/2020   Maria Ryan                                  Rudy Giuliani (rhelen0528@gmail.com);        N/A                                          Fwd Concrete information needed.pdf              Email         ACP: Confidential communication providing
                                                                                                  (maria.ryan@giulianipartners.com)           Katherine Friess (kfriess@protonmail.com);                                                                                                               information to counsel to render legal advice
  154
                                                                                                                                              Bernie Kerik (private@bernardkerik.com)                                                                                                                  regarding a national litigation strategy.

            BK0000000370                 Mike Lindell paid ads re voter fraud.pdf    12/27/2020   Katherine Freiss (kfriess@protonmail.com)   Joanna Miller                                Christos Makridis                            Mike Lindell paid ads re voter fraud.pdf         Email         ACP: Confidential communication providing
  155                                                                                                                                         (joannamiller6201@protonmail.com); Bernie    (camakridis@protonmail.com)                                                                                 legal advice re communications.
                                                                                                                                              Kirk (private@bernardkirk.com)
            BK0000000177                 FW Fascinating Request.pdf                  12/28/2020   Katherine Freiss (kfriess@protonmail.com)   Bernie Kerik (private@bernardkerik.com)      N/A                                          FW Fascinating Request.pdf                       Email         WP: Confidential communication discussing
  158                                                                                                                                                                                                                                                                                                  lneed for legal date for litigation in MI and PA.

            BK0000000321                 FW Fascinating Request.pdf                  12/28/2020   Katherine Friess (kfriess@protonmail.com)   Bernard Kerik (private@bernardkerik.com)     N/A                                          FW Fascinating Request.pdf                       Email         WP: Confidential communication from counsel
  160                                                                                                                                                                                                                                                                                                  discussing data to be used in potential national
                                                                                                                                                                                                                                                                                                       litigation.
            BK0000000173                 Followup from meeting with Mr Rudy          12/29/2020   Roy Bailey (rbailey@baileydeason.com)       Katherine Freiss (kfriess@protonmail.com)    Bernie Kerik (private@bernardkerik.com)      Followup from meeting with Mr Rudy               Email         WP: Confidential communication requesting
  162                                    Giuliani.pdf                                                                                                                                                                                   Giuliani.pdf                                                   work product to render legal advice for national
                                                                                                                                                                                                                                                                                                       litigation strategy.
            BK0000000260                 Please Print Your Requested Talking Points 1/2/2021      Maria Ryan                                  Katherine Freiss (kfriess@protonmail.com)    Rudy (rhelen0528@gmail.com);Bernie Kerik     Please Print Your Requested Talking Points and Email           ACP: Confidential communication providing
                                         and MemberTargets for briefings.pdf                      (Maria.ryan@giulianipartners.com)                                                        (private@bernardkerik.com)                   MemberTargets for briefings.pdf                                information to counsel to render legal advice in
  165
                                                                                                                                                                                                                                                                                                       potential Michigan litigation.

            BK0000000360                 Ligon letter to DJT requesting DHS cyber    1/2/2021     kef@hushmail.com                            "Rudy Giuliani                               N/A                                          Ligon letter to DJT requesting DHS cyber audit   Email         WP: Confidential communication from counsel
                                         audit .pdf                                                                                           rudolph.giuliani@giulianipartners.com,                                                    .pdf                                                           to co-counsel, sharing legal data for use in
                                                                                                                                              Bernard Kerik private@bernardkerik.com, Phil                                                                                                             national litigation plans.
                                                                                                                                              Waldron P@BonfireSearch.org, Dr. Maria
  166
                                                                                                                                              Ryan Maria.Ryan@giulianipartners.com,
                                                                                                                                              Christina Bobb christina@cgbstrategies.com"


            BK0000000375                 Please Print Your Requested Talking Points 1/2/2021      Maria Ryan                                  Katherine Freiss (kfriess@protonmail.com)    Rudy (rhelen0528@gmail.com);Bernie Kerik     Please Print Your Requested Talking Points and Email           ACP: Confidential communication providing
                                         and MemberTargets for briefings.pdf                      (Maria.ryan@giulianipartners.com)                                                        (private@bernardkerik.com)                   MemberTargets for briefings.pdf                                information to counsel to render legal advice on
  167
                                                                                                                                                                                                                                                                                                       national litigation strategy.




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                                                                               Case 1:21-cv-03354-BAH Document 87-3 Filed 08/04/23 Page 4 of 6
Log Entry
                      BegDoc                              File Name                  Date                           From                                        To                                            CC                                 Email Subject or File Name            File Type           Nature/Basis of Privilege Claim
 Number
            Pages from BK0000000117-24   Pages from BK0000000117-24.pdf        1/4/2021          Katherine Friess kfriess@protonmail.com   Rudy rhelen0528@gmail.com                     Bernie Kerik private@bernardkerik.com, Dr.   Briefing materials for Senate Members          email         WP: email from counsel re election data re
                                                                                                                                                                                         Maria Ryan                                                                                                national litigation strategy.
                                                                                                                                                                                         Maria.Ryan@giulianipartners.com,Steve
  170
                                                                                                                                                                                         Bannon stephenkbannon@protonmail.com,
                                                                                                                                                                                         Katherine Friess kef@hushmail.com

            BK0000000395                 Willard Folio .pdf                    1/10/2021         Bernie Kerik (private@bernardkerik.com)   Katherine Freiss (kfriess@protonmail.com)     N/A                                          Willard Folio .pdf                             Email         ACP: Confidential communication discussing
  171
                                                                                                                                                                                                                                                                                                   legal strategy.
            BK0000000188                Fwd Thousands Of Fraudulent Votes In   6/21/2021         Bernie Kerik (private@bernardkerik.com)   Preston Haliburton                            N/A                                          Fwd Thousands Of Fraudulent Votes In Georgia Email           WP: Confidential communication providing legal
  172                                   Georgia Cast By Felons Dead Underage                                                               (prestonhaliburton@gmail.com)                                                              Cast By Felons Dead Underage Voters.pdf                      data for Georgia litigation.
                                        Voters.pdf
            BK0000000253                Fwd Thousands Of Fraudulent Votes In   6/21/2021         Bernie Kerik (private@bernardkerik.com)   Preston Haliburton                            N/A                                          Fwd Thousands Of Fraudulent Votes In Georgia Email           WP: Confidential communication with data
  173                                   Georgia Cast By Felons Dead Underage                                                               (prestonhaliburton@gmail.com)                                                              Cast By Felons Dead Underage Voters.pdf                      experts gathering legal data for national
                                        Voters.pdf                                                                                                                                                                                                                                                 litigation strategy.
            BK0000000261                Fwd Thousands Of Fraudulent Votes In   6/21/2021         Bernie Kerik (private@bernardkerik.com)   Preston Haliburton                            N/A                                          Fwd Thousands Of Fraudulent Votes In Georgia Email           WP: Confidential communication gathering legal
  174                                   Georgia Cast By Felons Dead Underage                                                               (prestonhaliburton@gmail.com)                                                              Cast By Felons Dead Underage Voters.pdf                      data from data experts for potential GA
                                        Voters.pdf                                                                                                                                                                                                                                                 litigation strategy.
            Pages from BK0000000117-108 Pages from BK0000000117-108.pdf        December 10, 2020 kef@hushmail.com                          Bernie Kerik private@bernardkerik.com, Phil   n/a                                          Fwd: WEAPONIZED AUTISM: 4Chan Finds Huge       email         WP: email from counsel discussing election data
  182                                                                          at 08:11                                                    Waldron P@BonfireSearch.org                                                                Ukraine Links To Dominion Software…                          for potential litigation nationally.

            Pages from BK0000000117-102 Pages from BK0000000117-102.pdf        December 10, 2020 kef@hushmail.com                          Bernie Kerik private@bernardkerik.com,Phil    n/a                                          Fwd: Thousands Of Fraudulent Votes In Georgia email          WP: collecting election data for use in potential
  183                                                                          at 08:13                                                    Waldron P@BonfireSearch.org                                                                Cast By Felons, Dead, Underage Voters                        GA litigation.

            Pages from BK0000000188-5    Pages from BK0000000188-5.pdf         December 10, 2020 kef@hushmail.com                          Bernie Kerik private@bernardkerik.com,Phil    n/a                                          Fwd: Thousands Of Fraudulent Votes In Georgia email          WP: from counsel discussing election data for
  184                                                                          at 08:13                                                    Waldron P@BonfireSearch.org                                                                Cast By Felons, Dead, Underage Voters                        use in potential GA litigation.

            Pages from BK0000000253-5    Pages from BK0000000253-5.pdf         December 10, 2020 kef@hushmail.com                          Bernie Kerik private@bernardkerik.com, Phil   n/a                                          Fwd: Thousands Of Fraudulent Votes In Georgia email          WP: email from counsel discussing election data
  185                                                                          at 08:13                                                    Waldron P@BonfireSearch.org                                                                Cast By Felons, Dead, Underage VotersDate:                   in GA for use in potential litigation.

            Pages from BK0000000261-5    Pages from BK0000000261-5.pdf         December 10, 2020 kef@hushmail.com                          Bernie Kerik private@bernardkerik.com, Phil   n/a                                          Fwd: Thousands Of Fraudulent Votes In Georgia email          WP: email from counsel discussing election data
  186                                                                          at 08:13                                                    Waldron P@BonfireSearch.org                                                                Cast By Felons, Dead, Underage Voters                        in GA for use in potential litigation.

            Pages from BK0000000117-101 Pages from BK0000000117-101.pdf        December 10, 2020 BernardKerik                              Rudy Giuliani Rhelen0528@gmail.com,Maria      n/a                                          Fwd: Thousands Of Fraudulent Votes In Georgia email          WP: to counsel re election data for use in
                                                                               at 08:17                                                    Ryan                                                                                       Cast By Felons, Dead, Underage Voters                        potential GA litigation.
  187                                                                                                                                      Maria.ryan@giulianipartners.com,Andrew
                                                                                                                                           Giuliani Giuliani.andrew@gmail.com

            Pages from BK0000000188-4    Pages from BK0000000188-4.pdf         December 10, 2020 BernardKerik                              Rudy Giuliani Rhelen0528@gmail.com, Maria n/a                                              Fwd: Thousands Of Fraudulent Votes In Georgia email          WP: providing counsel with election data for
                                                                               at 08:17                                                    Ryan Maria.ryan@giulianipartners.com,                                                      Cast By Felons, Dead, Underage Voters                        use in potential GA litigation.
  188                                                                                                                                      Andrew Giuliani Giuliani.andrew@gmail.com


            Pages from BK0000000253-4    Pages from BK0000000253-4.pdf         December 10, 2020 BernardKerik                              Rudy Giuliani Rhelen0528@gmail.com, Maria n/a                                              Fwd: Thousands Of Fraudulent Votes In Georgia email          WP: email to counsel re election data in GA for
                                                                               at 08:17                                                    Ryan Maria.ryan@giulianipartners.com,                                                      Cast By Felons, Dead, Underage Voters                        use in potential litigation.
  189                                                                                                                                      Andrew Giuliani Giuliani.andrew@gmail.com


            Pages from BK0000000261-4    Pages from BK0000000261-4.pdf         December 10, 2020 BernardKerik                              Rudy Giuliani Rhelen0528@gmail.com, Maria n/a                                              Fwd: Thousands Of Fraudulent Votes In Georgia email          WP: email to counsel discussing election data in
                                                                               at 08:17                                                    Ryan Maria.ryan@giulianipartners.com,                                                      Cast By Felons, Dead, Underage Voters                        GA for use in potential litigation.
  190                                                                                                                                      Andrew Giuliani Giuliani.andrew@gmail.com


            Pages from BK0000000117-100 Pages from BK0000000117-100.pdf        December 10, 2020 Maria Ryan                                BernardKerik                                  n/a                                          Re: Thousands Of Fraudulent Votes In Georgia   email         WP: collecting election data for use in potential
  191                                                                          at 08:59                                                                                                                                               Cast By Felons, Dead, Underage Voters                        GA litigation.

            Pages from BK0000000188-3    Pages from BK0000000188-3.pdf         December 10, 2020 Maria Ryan                                BernardKerik                                  n/a                                          Re: Thousands Of Fraudulent Votes In Georgia   email         WP: discussing election data for use in potential
  192                                                                          at 08:59                                                                                                                                               Cast By Felons, Dead, Underage Voters                        GA litigation.

            Pages from BK0000000253-3    Pages from BK0000000253-3.pdf         December 10, 2020 Maria Ryan                                BernardKerik                                  n/a                                          Re: Thousands Of Fraudulent Votes In Georgia   email         WP: email between counsel staff discussing
  193                                                                          at 08:59                                                                                                                                               Cast By Felons, Dead, Underage Voters                        election data in GA for use in potential
                                                                                                                                                                                                                                                                                                   litigation.
            Pages from BK0000000261-3    Pages from BK0000000261-3.pdf         December 10, 2020 Maria Ryan                                BernardKerik                                  n/a                                          Re: Thousands Of Fraudulent Votes In Georgia   email         WP: email between counsel staff discussing
  194                                                                          at 08:59                                                                                                                                               Cast By Felons, Dead, Underage Voters                        election data in GA for use in potential
                                                                                                                                                                                                                                                                                                   litigation.
            Pages from BK0000000117-99   Pages from BK0000000117-99.pdf        December 10, 2020 Phil Waldron                              kef@hushmail.com, Bernie Kerik                enewman enewman@protonmail.com               RE: Thousands Of Fraudulent Votes In Georgia   email         WP: email to counsel re election data for use in
  195                                                                          at 09:08                                                    private@bernardkerik.com,Russell Ramsland                                                  Cast By Felons, Dead, Underage Voters                        potential GA litigation.
                                                                                                                                           yrku9sqs@protonmail.com
            Pages from BK0000000188-2    Pages from BK0000000188-2.pdf         December 10, 2020 Phil Waldron                              Hushmail kef@hushmail.com,Bernie Kerik        enewman                                      RE: Thousands Of Fraudulent Votes In Georgia   email         WP: providing counsel with election data for
  196                                                                          at 09:08                                                    private@bernardkerik.com,Russell Ramsland                                                  Cast By Felons, Dead, Underage V                             use in potential GA litigation.
                                                                                                                                           yrku9sqs@protonmail.com
            Pages from BK0000000253-2    Pages from BK0000000253-2.pdf         December 10, 2020 Phil Waldron                              kef@hushmail.com,Bernie Kerik                 enewman                                      RE: Thousands Of Fraudulent Votes In Georgia   email         WP: email to counsel discussing election data in
  197                                                                          at 09:08                                                    private@bernardkerik.com,Russell Ramsland                                                  Cast By Felons, Dead, Underage Voters                        GA for use in potential litigation.
                                                                                                                                           yrku9sqs@protonmail.com
            Pages from BK0000000261-2    Pages from BK0000000261-2.pdf         December 10, 2020 Phil Waldron                              kef@hushmail.com, Bernie Kerik                enewman                                      RE: Thousands Of Fraudulent Votes In Georgia   email         WP: email to counsel discussing election data in
  198                                                                          at 09:08                                                    private@bernardkerik.com, Russell Ramsland                                                 Cast By Felons, Dead, Underage Voters                        GA for use in potential litigation.
                                                                                                                                           yrku9sqs@protonmail.com
            Pages from BK0000000289-6    Pages from BK0000000289-6.pdf         December 11, 2020 Kenneth Chesebro                          Joshua Findlay                                Jon Black jblack@gop.com,                    7 documents for GA electors                    email         WP: email from counsel to campaign discussing
  199                                                                          at 17:30                                                                                                  MRoman@donaldtrump.com,                                                                                   legal documents for potential litigation in GA.
                                                                                                                                                                                         private@bernardkerik.com




                                                                                                                                                                     3
                                                                          Case 1:21-cv-03354-BAH Document 87-3 Filed 08/04/23 Page 5 of 6
Log Entry
                      BegDoc                           File Name                 Date                             From                       To                                         CC                                 Email Subject or File Name              File Type            Nature/Basis of Privilege Claim
 Number
            Pages from BK0000000289-5    Pages from BK0000000289-5.pdf    December 11, 2020 Mike Roman                   Kenneth Chesebro kenchesebro@msn.com,      Jon Black jblack@gop.com,                    Re: [EXTERNAL]7 documents for GA electors       email         WP: email to counsel from campaign discussing
  200                                                                     at 17:40                                       Joshua Findlay jfindlay@donaldtrump.com    private@bernardkerik.com, Robert Sinners                                                                   legal documents for potential litigation in GA.
                                                                                                                                                                    rsinners@donaldtrump.com
            Pages from BK0000000289-3    Pages from BK0000000289-3.pdf    December 11, 2020 BernardKerik                 Boris Epshteyn Bepshteyn@gmail.com,        n/a                                          Fwd: [EXTERNAL]7 documents for GA electors      email         WP: email to counsel and campaign discussing
                                                                          at 17:43                                       Christina Bobb                                                                                                                                        legal documents for potential litigation in GA.
                                                                                                                         ChristinaBobb@ProtonMail.com, Katherine
  201                                                                                                                    Friess kef@hushmail.com, Rudy Giuliani
                                                                                                                         Rhelen0528@gmail.com, Maria Ryan
                                                                                                                         Maria.ryan@giulianipartners.com

            Pages from BK0000000289-4    Pages from BK0000000289-4.pdf    December 11, 2020 Mike Roman                   Kenneth Chesebro kenchesebro@msn.com,      Jon Black jblack@gop.com,                    Re: [EXTERNAL]7 documents for GA electors       email         WP: email to counsel from campaign discussing
  202                                                                     at 17:43                                       Joshua Findlay jfindlay@donaldtrump.com    private@bernardkerik.com                                                                                   legal documents for potential litigation in GA.

            Pages from BK0000000289-2    Pages from BK0000000289-2.pdf    December 11, 2020 Kenneth Chesebro             Joshua Findlay                             Jon Black jblack@gop.com,                    Re: 7 documents for GA electors                 email         WP: email from counsel discussing legal
  203                                                                     at 18:17                                                                                  MRoman@donaldtrump.com,                                                                                    documents for potential litigation in GA.
                                                                                                                                                                    private@bernardkerik.com
            Pages from BK0000000289      Pages from BK0000000289.pdf      December 12, 2020 kef@hushmail.com             BernardKerik                               n/a                                          Re: [EXTERNAL]7 documents for GA electors       email         WP: email from counsel discussing legal
  204
                                                                          at 09:32                                                                                                                                                                                             documents for potential litigation in GA.
            Pages from BK0000000117-129 Pages from BK0000000117-129.pdf   December 14, 2020 BernardKerik                 Joanna Miller                              n/a                                          Fwd: MI SecState directive to delete election   email         ACP: forwarding legal advice to white house
  223
                                                                          at 19:42                                                                                                                               data                                                          staff.
            Pages from BK0000000117-105 Pages from BK0000000117-105.pdf   December 15, 2020 Maria Ryan                   Katherine Friess                           n/a                                          Fwd: TIME PRESSING QUESTION                     email         WP: email re information needed for use in
  224                                                                     at 11:59                                       kfriess@protonmail.com,Bernie Kerik                                                                                                                   national litigation plan.
                                                                                                                         private@bernardkerik.com
            Pages from BK0000000117-104 Pages from BK0000000117-104.pdf   December 15, 2020 BernardKerik                 Phil Waldron                               atherine Friess kef@hushmail.com,Maria Ryan Fwd: TIME PRESSING QUESTION                      email         WP: email re information needed for use in
  225                                                                     at 12:09                                                                                  Maria.ryan@giulianipartners.com                                                                            national litigation plan.

            Pages from BK0000000117-185 Pages from BK0000000117-185.pdf   December 15, 2020 JoannaMiller                 private@bernardkerik.com,Katherine         n/a                                          Update - Senators coalition                     email         WP: email from white house staff to counsel re
  226                                                                     at 22:12                                       Friesskfriess@protonmail.com                                                                                                                          lead on election data for use in national
                                                                                                                                                                                                                                                                               litigation plan.
            Pages from BK0000000117-184 Pages from BK0000000117-184.pdf   December 15, 2020 JoannaMiller                 private@bernardkerik.com,Katherine         n/a                                          Re: Update - Senators coalition                 email         WP: email from white house staff to counsel re
  227                                                                     at 22:41                                       Friesskfriess@protonmail.com                                                                                                                          lead on election data for use in national
                                                                                                                                                                                                                                                                               litigation plan.
            Pages from BK0000000117-183 Pages from BK0000000117-183.pdf   December 16, 2020 Katherine Friess             JoannaMiller6201JoannaMiller6201@proton    n/a                                          Re: Update - Senators coalition                 email         WP: email to white house staff from counsel re
  228                                                                     at 01:49                                       mail.com,private@bernardkerik.com                                                                                                                     lead on election data for use in national
                                                                                                                                                                                                                                                                               litigation plan.
            Pages from BK0000000117-103 Pages from BK0000000117-103.pdf   December 16, 2020 Katherine Friess             Maria Ryan                                 n/a                                          Re: Fwd: TIME PRESSING QUESTION                 email         WP: email from counsel requesting information
  229                                                                     at 01:52                                       Maria.Ryan@giulianipartners.com,Bernie                                                                                                                for use in national litigation plan.
                                                                                                                         Kerik private@bernardkerik.com
            Pages from BK0000000117-182 Pages from BK0000000117-182.pdf   December 16, 2020 JoannaMiller                 Katherine Friess                           n/a                                          Re: Update - Senators coalition                 email         WP: email from white house staff to counsel re
  230                                                                     at 06:03                                       kfriess@protonmail.com,private@bernardkeri                                                                                                            lead on election data for use in national
                                                                                                                         k.com                                                                                                                                                 litigation plan.
            Pages from BK0000000117-180 Pages from BK0000000117-180.pdf   December 17, 2020 Katherine Friess             Rudy G; Bernie Kerik                       n/a                                          Supporting info re: Foreign Involvement         email         WP: email between counsel discussing election
  233                                                                     at 10:47                                                                                                                                                                                             data for potential national litigation.

            Pages from BK0000000117-86   Pages from BK0000000117-86.pdf   December 17, 2020 Katherine Friess             Rudy Giuliani rhelen0528@gmail.com, Bernie n/a                                          Fwd: Findings with Redlines                     email         WP: email between counsel discussing work
  234
                                                                          at 11:14                                       Kerik private@bernardkerik.com                                                                                                                        product for national litigation plan.
            Pages from BK0000000310-3    Pages from BK0000000310-3.pdf    December 19, 2020 JoannaMiller                 private@bernardkerik.com, Matt DePerno    n/a                                           FACT CHECK: John Poulos                         email         WP: email from white house staff to counsel
  235                                                                     at 04:19                                       mdeperno@protonmail.com, Katherine Friess                                                                                                             providing information for use in developing
                                                                                                                         kfriess@protonmail.com                                                                                                                                national litigation strategy
            Pages from BK0000000117-92   Pages from BK0000000117-92.pdf   December 2, 2020     AHGiuliani                kef@hushmail.com                          Bernard Kerik                                 Re: Public Records Request & Smartmatic         email         WP: email between counsel involving data for
  236
                                                                          at 07:27                                                                                                                                                                                             legal filings in various states.
            Pages from BK0000000184      Pages from BK0000000184.pdf      December 2, 2020     AHGiuliani                kef@hushmail.com                           Bernard Kerik                                Re: Public Records Request & Smartmatic         email         WP: email between counsel discussing legal
  237                                                                     at 07:27                                                                                                                                                                                             filings needed in litigation throughout the
                                                                                                                                                                                                                                                                               nation.
            Pages from BK0000000345      Pages from BK0000000345.pdf      December 2, 2020 Andrew Giuliani               kef@hushmail.com                           Bernard Kerik                                Re: Public Records Request & Smartmatic         email         ACP: emails to counsel re legal documents
  238
                                                                          at 07:27                                                                                                                                                                                             needed for various states.
            Pages from BK0000000310-2    Pages from BK0000000310-2.pdf    December 21, 2020 Katherine Friess             JoannaMiller                               Bernie Kerik                                 Re: FACT CHECK: John Poulos                     email         WP: email from counsel to white house staff
  240                                                                     at 01:24                                                                                                                                                                                             discussing information for use in developing
                                                                                                                                                                                                                                                                               national litigation strategy
            Pages from BK0000000310      Pages from BK0000000310.pdf      December 21, 2020 JoannaMiller                 Katherine Friess                           Bernie Kerik                                 Re: FACT CHECK: John Poulos                     email         WP: email from white house staff to counsel
  241                                                                     at 06:27                                                                                                                                                                                             providing information for use in developing
                                                                                                                                                                                                                                                                               national litigation strategy
            Pages from BK0000000117-82   Pages from BK0000000117-82.pdf   December 28, 2020 Katherine Friess             Bernie Kerik                               n/a                                          FW: Fascinating Request                         email         WP: email from counsel discussing national
  245                                                                     at 12:59                                                                                                                                                                                             election data for use in national litigation plan.

            Pages from BK0000000117-190 Pages from BK0000000117-190.pdf   December 7, 2020     Matt DePerno              Katherine Friesskfriess@protonmail.com,    n/a                                          URGENT                                          email         ACP: email between counsel discovery court
  255                                                                     at 20:36                                       private@bernardkerik.com                                                                                                                              order in antrim county litigation.

            Pages from BK0000000117-189 Pages from BK0000000117-189.pdf   December 7, 2020     Katherine Friess          Matt DePerno mdeperno@protonmail.com,      n/a                                          Re: URGENT                                      email         ACP: email between counsel discovery court
  256                                                                     at 20:58                                       private@bernardkerik.com                                                                                                                              order in antrim county litigation.

            Pages from BK0000000117-145 Pages from BK0000000117-145.pdf   January 2, 2021 at   Katherine Friess          Rudy rhelen0528@gmail.com, Dr. Maria Ryan Bernie Kerik                                  Please Print - Your Requested Talking Points and email        WP: email from re providing election data for
  259
                                                                          16:00                                          Maria.Ryan@giulianipartners.com                                                         MemberTargets for briefings                                   potential national litigation.
            Pages from BK0000000117-144 Pages from BK0000000117-144.pdf   January 2, 2021 at   Maria Ryan                Katherine Friess                           Rudy rhelen0528@gmail.com, Bernie Kerik      Re: Please Print - Your Requested Talking Points email        WP: email to counsel providing election data for
  260                                                                     16:22                                                                                     private@bernardkerik.com, Katherine Friess   and MemberTargets for briefings                               potential national litigation.
                                                                                                                                                                    kef@hushmail.com




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Log Entry
                      BegDoc                           File Name                 Date                       From                        To             CC            Email Subject or File Name             File Type           Nature/Basis of Privilege Claim
 Number
            Pages from BK0000000117-98   Pages from BK0000000117-98.pdf   June 21, 2021 at   BernardKerik          reston Haliburton             n/a        Fwd: Thousands Of Fraudulent Votes In Georgia email         WP: collecting election data for use in potential
  264                                                                     10:07                                                                             Cast By Felons, Dead, Underage Voters                       GA litigation.

            Pages from BK0000000188      Pages from BK0000000188.pdf      June 21, 2021 at   BernardKerik          Preston Haliburton            n/a        Fwd: Thousands Of Fraudulent Votes In Georgia email         WP: discussing election data for use in potential
  265                                                                     10:07                                                                             Cast By Felons, Dead, Underage Voters                       GA litigation.

            Pages from BK0000000253      Pages from BK0000000253.pdf      June 21, 2021 at   BernardKerik          Preston Haliburton            n/a        Fwd: Thousands Of Fraudulent Votes In Georgia email         WP: email between counsel staff discussing
  266                                                                     10:07                                                                             Cast By Felons, Dead, Underage Voters                       election data in GA for use in potential
                                                                                                                                                                                                                        litigation.
            Pages from BK0000000261      Pages from BK0000000261.pdf      June 21, 2021 at   BernardKerik          Preston Haliburton            n/a        Fwd: Thousands Of Fraudulent Votes In Georgia email         WP: email between counsel staff discussing
  267                                                                     10:07                                                                             Cast By Felons, Dead, Underage Voters                       election data in GA for use in potential
                                                                                                                                                                                                                        litigation.




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